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                          ** NOT PRINTED FOR PUBLICATION **

                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  BEAUMONT DIVISION

PANTAURUS LLC,                                   §
                                                 §
        Plaintiff,                               §
                                                 §      CIVIL ACTION No. 1-13-CV-544
v.                                               §
                                                 §      JUDGE RON CLARK
DATA LOCKER INC.,                                §
                                                 §
        Defendant.                               §

        ORDER GRANTING AGREED MOTION TO DISMISS WITH PREJUDICE

        Before the court is the parties’ Agreed Motion to Dismiss with Prejudice. [Doc. # 22].

The parties seek a dismissal with prejudice. The court is of the opinion that it should grant this.

IT IS THEREFORE ORDERED that the Agreed Motion Dismiss with Prejudice [Doc. # 22] is

GRANTED, this case is DISMISSED WITH PREJUDICE, and costs will be borne by the party

incurring the same.
               So ORDERED and SIGNED this 2 day of January, 2014.




                                                             ___________________________________
                                                             Ron Clark, United States District Judge




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